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                                  UNITED STATES DISTRICT COURT

                                        DISTRICT OF NEW JERSEY

 NATHAN SMITH                                              CIVIL ACTION
 &
 NATASHA SINGH
 &
                                                           No.: 22-5335

                                                             JURY TRIAL DEMANDED
 NATHAN SMITH,
 on
 behalf of and as p/n/g
 of his minor
 daughter,
 N        S

 and

 NATHAN SMITH,
 on behalf of and as
 p/n/g of his minor
 daughter
 N         S

                          Plaintiffs
Vs.

 LA FONTANA LLC
 135 Grant Avenue,
 Seaside Heights, NJ 08751

  and

  LA FONTANA MOTEL
  135 Grant Avenue,
  Seaside Heights, NJ 08751

  and

 SANDIP PATEL
 135 Grant Avenue,
 Seaside Heights, NJ 08751

                                       COMPLAINT - CIVIL ACTION

        I. JURISDICTION AND VENUE

         1. Jurisdiction is based upon diversity of citizenship, to wit, 28 United States Code, Sec.

1332.

         2. Venue is proper under the Federal Rules of Civil Procedure, as the Defendants are all
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citizens doing business and/or residing within this District.

      II. THE PARTIES

3. At all times relevant hereto, Plaintiffs resided at 1019 Ski Bluff Terrace, Lake Ariel, PA

18436.

    4. Upon information and belief, at all times relevant hereto, Defendant La Fontana LLC was

         and is a limited liability company organized and existing pursuant to the laws of the State

         of New Jersey, maintaining its principal place of business at the address captioned above.

    5. Upon information and belief, at all times relevant hereto, Defendant La Fontana Motel

         was and is a limited liability company organized and existing pursuant to the laws of the

         State of New Jersey, maintaining its principal place of business at the address captioned

         above.

    6. Upon information and belief, at all times relevant hereto, Defendant Sandip Patel was

         and is an individual who owned, operated and controlled Defendants La Fontana LLC

         and La Fontana Motel, maintaining a principal place of business at the address captioned

         above.

    7. Upon information and belief, at all times relevant hereto, said Defendants were operating

         by and through their employee, servant, owner, Sandip Patel, who was the owner,

         operator, manager and employee of the La Fontana Motel and of La Fontana LLC; and

         was operating in furtherance of the business and affairs of La Fontana LLC and La

         Fontana Motel.

    8. Defendant La Fontana Motel and La Fontana LLC and Sundip Patel are also collectively

         referred to herein as the “Hotel Defendants”.

    9. Upon information and belief, at all times relevant hereto, the Hotel Defendants were in

         the business of owning, operating and/or managing hotels, including but not limited to a
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    hotel (hereinafter also referred to as “the Hotel”) located at 135 Grant Avenue, Seaside

    Heights, NJ 08751, wherein Plaintiffs sustained injuries as the result of bed bugs, as

    described in further detail below.

 10. At all times material hereto, all Defendants named herein conducted substantial,

    significant, and ongoing business activities in Ocean County, New Jersey.

 11. At all times material hereto, all Defendants named herein were acting through their duly

    authorized agents, servants, workmen, employees all of whom were acting in the course

    and scope of their employment and in furtherance of the business and affairs of the

    Defendants and are vicariously/ostensibly liable for the conduct of their employees and/or

    agents, who were, at all times material hereto, acting within the course and scope of their

    employment.


  III. THE EVENTS GIVING RISE TO THE CAUSE OF ACTION

 12. The paragraphs above are incorporated herein following as though they were set forth at

    length.

 13. On or about September 1, 2020, Plaintiff, Nathan Smith paid money to the Hotel

    Defendants to reserve a certain motel unit for himself and his two minor daughters to

    enjoy the labor day weekend at the New Jersey shore. (hereinafter referred to as “the

    room”).

        14. At all times material, Plaintiffs were business invitees of the Hotel

    Defendants and the Hotel.

        15. On the morning of September 2, 2020, after having spent the night sleeping in the

    hotel room of the Hotel, Plaintiff Nathan Smith and his two daughters discovered that

    they had been badly bitten by bed bugs while they slept and sustained numerous intensely
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    itchy, red, raised and painful welt like bites.


        16. Upon discovering the bite marks all over their bodies, they discovered actual

    bed bugs throughout the mattress and bed sheets.

        17. Upon information and belief, Defendants, through their actual or apparent agents,

    servants and/or employees, knew there was an active bed bug infestation in and around

    Plaintiffs' hotel room and failed to have the room inspected and properly treated by a

    licensed pest control company prior to Plaintiff staying at the hotel and/or failed to have

    the hotel room properly sanitized and maintenanced and clean and inspected for bed bugs

    between the time that the room was last booked and the time that plaintiffs checked into

    the room.

        18. Upon information and belief, prior to Plaintiff’s stay, Defendants had received

    prior complaints of bed bugs at the Hotel, had previously detected bed bugs in guest

    rooms at the Hotel including, but not limited to Plaintiff’s room at the hotel.

        19. Prior to Plaintiff’s stay, Defendants knew that Plaintiff’s hotel room had recently

    been infested with Bed Bugs and knew or should have known that there was a likelihood

    that new guests that would stay in the room would be bitten by bed bugs and knew or

    should have known that new guests would not be aware of this risk, yet purposefully and

    deceitfully chose not inform/warn new guests, such as Plaintiff about the risk of bed bugs

    in the room.

        20. Prior to leasing the room to Plaintiff, for a profit, Defendants, through their actual

    or apparent agents, servants and/or employees, made no efforts to determine or confirm

    that the room was free of bed bugs or signs of bed bug infestation, and actually knew that

    the room was infested with bed bugs.
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           21.        Upon information and belief, prior to placing Plaintiff into the hotel room,

           Defendants did not utilize regular procedures designed to guard against the spread

           and transport of bed bugsin the Hotel.

   22. The preexisting bed bug infestation in the room rendered it unsanitary and unfit

for human habitation.

   23. Signs of the presence of bed bugs in the room were concealed by Defendants so

that Defendants could derive a greater profit.

   24. As a result of all Defendants’ failure to eradicate the bed bug infestation in the hotel

room prior to Plaintiff’s stay, and knowingly placing Plaintiff in an infested room, the Plaintiff

suffered numerous bed bug bites resulting in itchy, painful and uncomfortable welts that

required medical treatment and medication, scarring, loss of sleep, anxiety and mental distress,

loss of personal property and economic loss.

                            COUNT I, II and III – NEGLIGENCE
                    Plaintiffs Nathan Smith individually v. All Defendants

   25. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein

and hereby avers as follows against the Defendants as if individually averred against same.

   26. Defendants, by and through their apparent and actual agents, servants

and/or employees, were negligent in the management, maintenance, ownership

and/or operation of the Hotel.

   27. Defendants owed a heightened duty of care to guests of the Hotel, including

the Plaintiff, to provide habitable and sanitary lodgings, free of bed bug infestation,

and to warn them of any known defects in the Hotel.

   28. Defendants negligently breached this duty by placing Plaintiff in a

Hotel room that had a preexisting bed bug infestation.
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   29. Defendants were negligent in manners including, but not limited to, the

following:

     a.     failing to train critical staff (maintenance workers, custodial staff,

      housekeeping staff and management personnel) on how to identify the signs of

      bed bug infestation, how to prevent the transport and spread of bed bug

      infestations, and the steps that must be taken immediately upon report or

      suspicion of such an infestation;

          b. failing to have in place and/or follow, prior to Plaintiff’s stay, a

      reasonable and appropriate bed bug inspection and/or treatment protocol for

      the Hotel, including daily inspections of its guest rooms and its common areas

      and facilities;

     c.     failing to assure strict compliance by all relevant staff with any

                bed bug inspection protocol in place at the Hotel;

     d.     failing to assure strict compliance by all relevant staff

                and/or

      contractors with any bed bug treatment protocol in place at the

      Hotel;

          e. failing to immediately quarantine Plaintiff’s personal belongings

      and have them inspected and, if necessary, treated by a qualified and competent

      pest control professional before permitting them to be taken to another room in

      Hotel and/or taken home by the Plaintiff;

      f. failing to detect and fully eradicate previously known bed bug

          infestations in the room and/or in rooms adjacent to, above or below the

          Plaintiff’s room in the Hotel, prior to placing Plaintiff in the room;
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      g. failing to have in place a reasonable and appropriate integrated program designed to

       prevent the introduction and spread of bed bug infestations within the Hotel by its

       employees and its guests;

        h. failing to provide Plaintiff with a safe, clean and sanitary Hotel room;

        i. failing to warn Plaintiff of the bed bug infestation in the room.

    30. As a result of all Defendants’ failure to eradicate the bed bug infestation in the hotel

room prior to Plaintiff’s stay, and knowingly placing Plaintiff in an infested room, the Plaintiff

suffered numerous bed bug bites resulting in itchy, painful and uncomfortable welts that

required medical treatment and medication, scarring, loss of sleep, anxiety and mental distress,

loss of personal property and economic loss.

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in their favor against all Defendants named herein in an amount greater than seventy-

five thousand dollars ($75,000.00) in compensatory damages, as well as punitive damages,

together with attorney’s fees, court costs, and such other and further relief as this Court deems

necessary, just and proper.

                       COUNT IV, V and VI – NEGLIGENCE PER SE
                         Plaintiff Nathan Smith v. All Defendants


    31. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein

and hereby avers as follows against the Defendants as if individually averred against same.

    32. Pursuant to NJAC 5:10-10.2, the Defendants as owners, operators, managers of a

Hotel had a duty under the law to ensure the elimination of any infestation of bed bugs or

other pests.

    33. Pursuant to NJAC 5:10-102, the Defendants breached their duty to eliminate said

infestation, and as a direct and proximate result, Plaintiff sustained injuries as described
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below.

   34. Defendants, by and through their apparent and actual agents, servants

and/or employees, were negligent in the management, maintenance, ownership

and/or operation of the Hotel.

   35. Defendants owed a heightened duty of care to guests of the Hotel, including the


Plaintiff, to provide habitable and sanitary lodgings, free of bed bug infestation, and to

warn them of any known defects in the Hotel.

   36. Defendants negligently breached this duty by placing Plaintiff in a Hotel

room that had a preexisting bed bug infestation.

   37. Defendants were negligent in manners including, but not limited to, the

following:

         a. failing to train critical staff (maintenance workers, custodial staff, housekeeping

staff and management personnel) on how to identify the signs of bed bug infestation, how to

prevent the transport and spread of bed bug infestations, and the steps that must be taken

immediately upon report or suspicion of such an infestation;

         b. failing to have in place and/or follow, prior to Plaintiff’s stay, a

reasonable and appropriate bed bug inspection and/or treatment protocol for the Hotel,

including daily inspections of its guest rooms and its common areas and facilities;

         c. failing to assure strict compliance by all relevant staff with any bed

bug inspection protocol in place at the Hotel;

         d. failing to assure strict compliance by all relevant staff and/or

contractors with any bed bug treatment protocol in place at the Hotel;

         e. failing to immediately quarantine Plaintiff’s personal belongings
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and have them inspected and, if necessary, treated by a qualified and competent pest

control professional before permitting them to be taken to another room in Hotel and/or

taken home by the Plaintiff;

        f. failing to detect and fully eradicate previously known bed bug infestations

in the room and/or in rooms adjacent to, above or below the Plaintiff’s room in the

Hotel, prior to placing Plaintiff in the room;

        g. failing to have in place a reasonable and appropriate integrated program designed to

prevent the introduction and spread of bed bug infestations within the Hotel by its employees

and its guests;

        h. failing to provide Plaintiff with a safe, clean and sanitary Hotel room;

        i. failing to warn Plaintiff of the bed bug infestation in the room.

    38. As a result of all Defendants’ failure to eradicate the bed bug infestation in the hotel

room prior to Plaintiff’s stay, and knowingly placing Plaintiff in an infested room, the Plaintiff

suffered numerous bed bug bites resulting in itchy, painful and uncomfortable welts that

required medical treatment and medication, scarring, loss of sleep, anxiety and mental distress,

loss of personal property and economic loss.

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in his favor against all Defendants named herein in an amount greater than seventy-

five thousand dollars ($75,000.00) in compensatory damages, as well as punitive damages,

together with attorney’s fees, court costs, and such other and further relief as this Court deems

necessary, just and proper.

             COUNT VII, VIII and IX – DECEPTIVE BUSINESS PRACTICES
                        Plaintiff, Nathan Smith v. All Defendants

    39. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

    40. The Defendants herein constitute a business subject to New Jersey criminal
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code governing Deceptive Business Practices (hereinafter referred to as “the Act”).

   41. Pursuant to NJ Rev Stat § 2C:21-7 (2014) 2C:21-7. Deceptive business practices

Deceptive business practices. A person commits an offense if in the course of business if he:

       e. Makes a false or misleading statement in any advertisement addressed to the public

       or to a substantial segment thereof for the purpose of promoting the purchase or sale of

       property or services…

   42. Defendants invited guests, including the Plaintiff, to make a reservation and stay at its

Hotel. Defendants did so for purposes of a commercial or business nature and derived a

financial and/or economic benefit therefrom and Plaintiff were paying for a service within the

meaning of the Act.

   43. The Defendants knowingly concealed and omitted the material facts that the room

was known to have an ongoing infestation of bed bugs.

  44. Despite knowing of the infestation of the room and the infestation that the rooms at

      the Hotel have had in general, Defendants nonetheless represented its hotel to be of

      high quality.

   45. Plaintiff relied on the Defendants’ concealments and omissions.

  46. As a result of Plaintiff’’ reliance on the Defendants’ concealments

      and omissions of material fact, Plaintiff suffered actual damages.

   47. As a direct and proximate result of the Defendants’ violations of the Act,

Plaintiff suffered numerous bed bug bites resulting in itchy, painful and

welts that required medical treatment and medical expense and medication, scarring, loss

of sleep, anxiety and mental distress, loss of personal property and economic loss.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in his favor and against the Defendants for the appropriate legal relief including
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three times the actual damages sustained, costs, and reasonable attorney’s fees punitive

damages and such other and further relief as this Court deems necessary, just and proper.

                             COUNT VII, VIII, IX – NEGLIGENCE
                           Plaintiff Nathan Smith on behalf of his minor
                            Daughter N        S      v. All Defendants

   48. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein

and hereby avers as follows against the Defendants as if individually averred against same.

   49. Defendants, by and through their apparent and actual agents, servants

and/or employees, were negligent in the management, maintenance, ownership

and/or operation of the Hotel.

   50. Defendants owed a heightened duty of care to guests of the Hotel, including

the Plaintiff, to provide habitable and sanitary lodgings, free of bed bug infestation,

and to warn them of any known defects in the Hotel.

   51. Defendants negligently breached this duty by placing Plaintiff in a

Hotel room that had a preexisting bed bug infestation.

   52. Defendants were negligent in manners including, but not limited to, the

following:

    a.      failing to train critical staff (maintenance workers, custodial staff,

            housekeeping staff and management personnel) on how to identify the signs

     of bed bug infestation, how to prevent the transport and spread of bed bug

     infestations, and the steps that must be taken immediately upon report or suspicion

     of such an infestation;

          b. failing to have in place and/or follow, prior to Plaintiff’s stay, a

         reasonable and appropriate bed bug inspection and/or treatment protocol for

         the Hotel, including daily inspections of its guest rooms and its common areas
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      and facilities;

       c. failing to assure strict compliance by all relevant staff with

        any bed bug inspection protocol in place at the Hotel;

       d. failing to assure strict compliance by all relevant staff

        and/or contractors with any bed bug treatment protocol in

        place at the Hotel;

       e. failing to immediately quarantine Plaintiff’s personal belongings

      and have them inspected and, if necessary, treated by a qualified and competent

      pest control professional before permitting them to be taken to another room in

      Hotel and/or taken home by the Plaintiff;

      f. failing to detect and fully eradicate previously known bed bug

       infestations in the room and/or in rooms adjacent to, above or below the

       Plaintiff’s room in the Hotel, prior to placing Plaintiff in the room;

       g. failing to have in place a reasonable and appropriate integrated program designed to

               prevent the introduction and spread of bed bug infestations within the Hotel by its

               employees and its guests;

       h.   failing to provide Plaintiff with a safe, clean and sanitary Hotel room;

       i. failing to warn Plaintiff of the bed bug infestation in the room.

   53. As a result of all Defendants’ failure to eradicate the bed bug infestation in the hotel

room prior to Plaintiff’s stay, and knowingly placing Plaintiff in an infested room, the Plaintiff

suffered numerous bed bug bites resulting in itchy, painful and uncomfortable welts that

required medical treatment and medication, scarring, loss of sleep, anxiety and mental distress,

loss of personal property and economic loss.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter
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judgment in their favor against all Defendants named herein in an amount greater than seventy-

five thousand dollars ($75,000.00) in compensatory damages, as well as punitive damages,

together with attorney’s fees, court costs, and such other and further relief as this Court deems

necessary, just and proper.

                        COUNT X, XI, XII – NEGLIGENT PER SE
                        Plaintiff Nathan Smith on behalf of his minor
                         Daughter N        S      v. All Defendants

    54. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein

and hereby avers as follows against the Defendants as if individually averred against same.

    55. Pursuant to NJAC 5:10-10.2, the Defendants as owners, operators, managers of a

Hotel had a duty under the law to ensure the elimination of any infestation of bed bugs or

other pests.

    56. Pursuant to NJAC 5:10-102, the Defendants breached their duty to eliminate said

infestation, and as a direct and proximate result, Plaintiff sustained injuries as described

below.

    57. Defendants, by and through their apparent and actual agents, servants

and/or employees, were negligent in the management, maintenance, ownership

and/or operation of the Hotel.

    58. Defendants owed a heightened duty of care to guests of the Hotel, including the

Plaintiff, to provide habitable and sanitary lodgings, free of bed bug infestation, and to

warn them of any known defects in the Hotel.

    59. Defendants negligently breached this duty by placing Plaintiff in a Hotel

room that had a preexisting bed bug infestation.

    60. Defendants were negligent in manners including, but not limited to, the

following:
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        a. failing to train critical staff (maintenance workers, custodial staff, housekeeping

staff and management personnel) on how to identify the signs of bed bug infestation, how to

prevent the transport and spread of bed bug infestations, and the steps that must be taken

immediately upon report or suspicion of such an infestation;

        b. failing to have in place and/or follow, prior to Plaintiff’s stay, a

reasonable and appropriate bed bug inspection and/or treatment protocol for the Hotel,

including daily inspections of its guest rooms and its common areas and facilities;

        c. failing to assure strict compliance by all relevant staff with any bed

bug inspection protocol in place at the Hotel;

        d. failing to assure strict compliance by all relevant staff and/or

contractors with any bed bug treatment protocol in place at the Hotel;

        e. failing to immediately quarantine Plaintiff’s personal belongings

and have them inspected and, if necessary, treated by a qualified and competent pest

control professional before permitting them to be taken to another room in Hotel and/or

taken home by the Plaintiff;

        f. failing to detect and fully eradicate previously known bed bug infestations

in the room and/or in rooms adjacent to, above or below the Plaintiff’s room in the

Hotel, prior to placing Plaintiff in the room;

        g. failing to have in place a reasonable and appropriate integrated program designed to

prevent the introduction and spread of bed bug infestations within the Hotel by its employees

and its guests;

        h. failing to provide Plaintiff with a safe, clean and sanitary Hotel room;

        i. failing to warn Plaintiff of the bed bug infestation in the room.

    61. As a result of all Defendants’ failure to eradicate the bed bug infestation in the hotel
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was known to have an ongoing infestation of bed bugs.

 67. Despite knowing of the infestation of the room and the infestation that the rooms at

      the Hotel have had in general, Defendants nonetheless represented its hotel to be of

      high quality.

   68. Plaintiff relied on the Defendants’ concealments and omissions.

  69. As a result of Plaintiff’’ reliance on the Defendants’ concealments

      and omissions of material fact, Plaintiff suffered actual damages.

   70. As a direct and proximate result of the Defendants’ violations of the Act,

Plaintiff suffered numerous bed bug bites resulting in itchy, painful and

welts that required medical treatment and medical expense and medication, scarring, loss

of sleep, anxiety and mental distress, loss of personal property and economic loss.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in his favor and against the Defendants for the appropriate legal relief including

three times the actual damages sustained, costs, and reasonable attorney’s fees punitive

damages and such other and further relief as this Court deems necessary, just and proper.

                          COUNT XIII, XIV, XV – NEGLIGENCE
                        Plaintiff Nathan Smith on behalf of his minor
                         Daughter N         S     v. All Defendants

   71. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein

and hereby avers as follows against the Defendants as if individually averred against same.

   72. Defendants, by and through their apparent and actual agents, servants

and/or employees, were negligent in the management, maintenance, ownership

and/or operation of the Hotel.

   73. Defendants owed a heightened duty of care to guests of the Hotel, including

the Plaintiff, to provide habitable and sanitary lodgings, free of bed bug infestation,
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and to warn them of any known defects in the Hotel.

    74. Defendants negligently breached this duty by placing Plaintiff in a

Hotel room that had a preexisting bed bug infestation.

    75. Defendants were negligent in manners including, but not limited to, the

following:

      a.      failing to train critical staff (maintenance workers, custodial staff,

       housekeeping staff and management personnel) on how to identify the signs of

       bed bug infestation, how to prevent the transport and spread of bed bug

       infestations, and the steps that must be taken immediately upon report or

       suspicion of such an infestation;

           b. failing to have in place and/or follow, prior to Plaintiff’s stay, a

reasonable and appropriate bed bug inspection and/or treatment protocol for the

Hotel, including daily inspections of its guest rooms and its common areas and

facilities;

           c. failing to assure strict compliance by all relevant staff with

           any bed bug inspection protocol in place at the Hotel;

           d. failing to assure strict compliance by all relevant staff

           and/or contractors with any bed bug treatment protocol in

           place at the Hotel;

           e. failing to immediately quarantine Plaintiff’s personal belongings

and have them inspected and, if necessary, treated by a qualified and competent pest

control professional before permitting them to be taken to another room in Hotel

and/or taken home by the Plaintiff;

           f. failing to detect and fully eradicate previously known bed bug
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        infestations in the room and/or in rooms adjacent to, above or below the

        Plaintiff’s room in the Hotel, prior to placing Plaintiff in the room;

       g. failing to have in place a reasonable and appropriate integrated program designed to

                prevent the introduction and spread of bed bug infestations within the Hotel by its

                employees and its guests;

        h.   failing to provide Plaintiff with a safe, clean and sanitary Hotel room;

        i. failing to warn Plaintiff of the bed bug infestation in the room.

    76. As a result of all Defendants’ failure to eradicate the bed bug infestation in the hotel

room prior to Plaintiff’s stay, and knowingly placing Plaintiff in an infested room, the Plaintiff

suffered numerous bed bug bites resulting in itchy, painful and uncomfortable welts that

required medical treatment and medication, scarring, loss of sleep, anxiety and mental distress,

loss of personal property and economic loss.

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in their favor against all Defendants named herein in an amount greater than seventy-

five thousand dollars ($75,000.00) in compensatory damages, as well as punitive damages,

together with attorney’s fees, court costs, and such other and further relief as this Court deems

necessary, just and proper.

                       COUNT XVI, XVII, XVIII – NEGLIGENT PER SE
                         Plaintiff Nathan Smith on behalf of his minor
                          Daughter N         S     v. All Defendants

    77. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein

and hereby avers as follows against the Defendants as if individually averred against same.

    78. Pursuant to NJAC 5:10-10.2, the Defendants as owners, operators, managers of a

Hotel had a duty under the law to ensure the elimination of any infestation of bed bugs or

other pests.
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   79. Pursuant to NJAC 5:10-102, the Defendants breached their duty to eliminate said

infestation, and as a direct and proximate result, Plaintiff sustained injuries as described

below.

   80. Defendants, by and through their apparent and actual agents, servants

and/or employees, were negligent in the management, maintenance, ownership

and/or operation of the Hotel.

   81. Defendants owed a heightened duty of care to guests of the Hotel, including the

Plaintiff, to provide habitable and sanitary lodgings, free of bed bug infestation, and to

warn them of any known defects in the Hotel.

   82. Defendants negligently breached this duty by placing Plaintiff in a Hotel

room that had a preexisting bed bug infestation.

   83. Defendants were negligent in manners including, but not limited to, the

following:

         a. failing to train critical staff (maintenance workers, custodial staff, housekeeping

staff and management personnel) on how to identify the signs of bed bug infestation, how to

prevent the transport and spread of bed bug infestations, and the steps that must be taken

immediately upon report or suspicion of such an infestation;

         b. failing to have in place and/or follow, prior to Plaintiff’s stay, a

reasonable and appropriate bed bug inspection and/or treatment protocol for the Hotel,

including daily inspections of its guest rooms and its common areas and facilities;

         c. failing to assure strict compliance by all relevant staff with any bed

bug inspection protocol in place at the Hotel;

         d. failing to assure strict compliance by all relevant staff and/or

contractors with any bed bug treatment protocol in place at the Hotel;
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        e. failing to immediately quarantine Plaintiff’s personal belongings

and have them inspected and, if necessary, treated by a qualified and competent pest

control professional before permitting them to be taken to another room in Hotel and/or

taken home by the Plaintiff;

        f. failing to detect and fully eradicate previously known bed bug infestations

in the room and/or in rooms adjacent to, above or below the Plaintiff’s room in the

Hotel, prior to placing Plaintiff in the room;

        g. failing to have in place a reasonable and appropriate integrated program designed to

prevent the introduction and spread of bed bug infestations within the Hotel by its employees

and its guests;

        h. failing to provide Plaintiff with a safe, clean and sanitary Hotel room;

        i. failing to warn Plaintiff of the bed bug infestation in the room.

    84. As a result of all Defendants’ failure to eradicate the bed bug infestation in the hotel

room prior to Plaintiff’s stay, and knowingly placing Plaintiff in an infested room, the Plaintiff

suffered numerous bed bug bites resulting in itchy, painful and uncomfortable welts that

required medical treatment and medication, scarring, loss of sleep, anxiety and mental distress,

loss of personal property and economic loss.

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in his favor against all Defendants named herein in an amount greater than seventy-

five thousand dollars ($75,000.00) in compensatory damages, as well as punitive damages,

together with attorney’s fees, court costs, and such other and further relief as this Court deems

necessary, just and proper.

               COUNT XIX, XX, XXI – DECEPTIVE BUSINESS PRACTICES
                  Plaintiff, Nathan Smith on behalf of his minor daughter
                              N       S      v. All Defendants
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   85. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

   86. The Defendants herein constitute a business subject to New Jersey criminal

code governing Deceptive Business Practices (hereinafter referred to as “the Act”).

   87. Pursuant to NJ Rev Stat § 2C:21-7 (2014) 2C:21-7. Deceptive business practices

Deceptive business practices. A person commits an offense if in the course of business if he:

       e. Makes a false or misleading statement in any advertisement addressed to the public

       or to a substantial segment thereof for the purpose of promoting the purchase or sale of

       property or services…

   88. Defendants invited guests, including the Plaintiff, to make a reservation and stay at its

Hotel. Defendants did so for purposes of a commercial or business nature and derived a

financial and/or economic benefit therefrom and Plaintiff were paying for a service within the

meaning of the Act.

   89. The Defendants knowingly concealed and omitted the material facts that the room

was known to have an ongoing infestation of bed bugs.

  90. Despite knowing of the infestation of the room and the infestation that the rooms at

      the Hotel have had in general, Defendants nonetheless represented its hotel to be of

      high quality.

   91. Plaintiff relied on the Defendants’ concealments and omissions.

  92. As a result of Plaintiff’’ reliance on the Defendants’ concealments

      and omissions of material fact, Plaintiff suffered actual damages.

   93. As a direct and proximate result of the Defendants’ violations of the Act,

Plaintiff suffered numerous bed bug bites resulting in itchy, painful and

welts that required medical treatment and medical expense and medication, scarring, loss

of sleep, anxiety and mental distress, loss of personal property and economic loss.
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       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in his favor and against the Defendants for the appropriate legal relief including

three times the actual damages sustained, costs, and reasonable attorney’s fees punitive

damages and such other and further relief as this Court deems necessary, just and proper.

                   COUNT XXI, XXII, XXII – LOSS OF CONSORTIUM
                                     Plaintiff, Natasha Singh
                                        v. All Defendants
  94. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.


  95. At all times material, Plaintiff Natasha Singh was the lawful wife and spouse of Plaintiff

      Nathan Smith

  96. As a result of the Defendants’ negligence and Plaintiff Nathan Smith’s injuries resulting

      from said negligence, Plaintiff Natasha Singh was deprived of society, companionship

      and consortium of her husband, all to her great detriment and loss.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in her favor and against the Defendants in excess of $75,000.00.

                                                   PETER BOWERS, P.C.

Date: August 31,
2022                                       BY:    /s/ALEXANDER J. GINSBURG
                                                  ALEXANDER J. GINSBURG
                                                  NJ ID# 033792010
                                                  Attorney for the Plaintiffs
